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   sidential Leas
Cause l. «deuti«cati.nofL.od.ordan™"t^                                                       ^            ,
^sagreementis entered into betwc^JZ^^ [Landlord]. EachTenant                       _                          for the

^^^^^^^otherU^softhUA^rn^t
Clause 2. Identification ofPremises                                 .oTenantandTenant rentsfrom Landlord, for
Subjectto thetermsandconditionsin^^^^^P^^J^aMIMo^
residential purposesonly, premisesloM,^^^-^^^u^GsWandappliances:
Rental ofthe premises also includes




 lowing minor children: ___             —                             "     ~                    js prohibited without
 OccuDancy by guests for more than                            —         ~~    ~
 Occupancy uy*                         considered abreach ofthis Agreement.
 Landlord's written consent and will beconsiaereu
 aause4.TermoftheTenancy                ^ / /jXo/C                     andendonJLZ^^-                                   '
 The term ofthe rental will begin on        C rT7^7^1ance ofthe rent for the remainder ofthe term.
 IfTenant vacates before me term ends, Tenant wm be liable for the balance
 Clause S. Payment of Rent
 Regular month rent                                  w-             payable in advance on the first day ofeach month,
 Tenant will pay to Landlord amonthly rent ofS- /> , -'*       d on me nextbusuiess day. Rent^will
 exceptwhenthatdayfa.lsonaweekendorlegalhohday.mwh.chcaserenttsdueo
                                                          at                                          "
 be paidto               _    —                  "
 such other place as Landlord designates.
  Deliveryof Payment.
  Rent will be paid:
      Q by mail, to
      03 in person, at
  Form of payment
  Landlord will accept payment in these forms
      • personal check made payable to
       • cashier's check made payable to
       • credit card                    p£> fofl-k
       Q money order
       Mcash                                    > / / /    f \                                   ^^otoBBDBlwwmuiotoxoin
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 Prorated first month's rent                          ~/       /        ,-
 For the period from Tenant's move-in date.          2// / **&                  ,through the endofthe month,Tenant w,ll
 payto Landlord the proratedmonthly rentofS' /} f*>                         •™s amountwillbepaidonorbeforethedate
 the Tenant moves in.

 Clause 6. Late Charges                                                     /
 IfTenant foils to pay the rent in full before the end ofthe. 6/f                  *V after it's due. Tenant will
 pay Landlord alate charge ofS / l^O ,plus $                            foremen additional day that the rentre-
 mains unpaid The total late charge for any one month will not exceed $ ££_:             Landlord does not waive
 the right to insist on payment of the rent in full on the date itis due.
 Clause 7. Returned Check and Other Bank Charges
 Ifany checkoffered byTenant to Landlord in payment ofrent orany other amount due under this Agreement is re
 turned for lack ofsufficient funds, a"stop payment," or any other reason, Tenant will pay Landlord areturned check
 charge of $                                -
 Clause 8. Security Deposits                                                         .
 On signing this Agreement, Tenant will pay to Landlord the sum of$             X7 >°              Masecurity deposit*
Tenant may not, without Landlord's prior written consent, apply this security deposit to the last month's rent or to any
other sum due under this Agreement Within             P> n                    after Tenant has vacated the premises,
returned keys, and provided Landlord with aforwarding address, Landlord will give Tenant an itemized written state
 ment ofthe reasons for, and the dollar amount of; any ofthe security deposit retained by Landlord, along with acheck
 for any deposit balance.
Clause 9. Utilities                                                                         "^
Tenant wi11 pay all utility charges, except for the following, which will be paid by Landlord:     /                ,
%tii\— tot thftnfo vjrrtgir tall puj to CWnrfo \P AV^ flffiQ
Clause10.Assignment and Subletting
Tenant will not sublet any part ofthe premises or assign this Agreement without the prior written consent ofLandlord.
Clause 11.Tenant's Maintenance Responsibilities
Tenant will: (I) keep the premises clean, sanitary, and in good condition and, upon termination ofthe tenancy, return
the premises to Landlord in acondition identical to that which existed when Tenant took occupancy, except for ordi
nary wear and tear, (2) immediately notify Landlord ofany defects or dangerous conditions inand about the premises
ofwhich Tenant becomes aware; and(3) reimburse Landlord, on demand by Landlord, forthe costofanyrepairs to
the premises damaged byTenant or Tenant's guests or business invitees through misuse or neglect                               % / /?
Tenant has examined the premises, including appliances, fixtures, carpets, drapes, and paint, and has found them to be^///r
ingood, safe, and clean condition and repair, except asnoted intheLandlord-Tenant Checklist                              (.
Cla«sel2.RepairsandAlterationsbyTen^t ** ~*                            4^^ 4^rW Kl\\\ ftlU $300 APd
  a.    Except as provided by law, or as authorized by toe priorwritten' consent ofLandlord, Tenant will Hot make^ U^c^
        any repairs or alterations to the premises, including nailing holes in the walls or painting the rental unit, p^, ^ r^x^
 b.     Tenant will not, without Landlord's prior written consent, alter, rekey, or install any locks to the premises op^gjpf
        install or alter any burglar alarm system. Tenant will provide Landlord with akey or keys capable ofunlockTlT
        ing all such rekeyed or new locks as well as instructions on how to disarm any altered or new burglar alarm- f*£*
        system.

Clause 13.Violating Laws and Causing Disturbances
Tenant is entitled to quiet enjoyment ofthe premises. Tenant and guests or invitees will not use the premises or adja-
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onilegaWWconrnnlwastc^erep^
veniencmg, orinterferingwith the quietenjoyment and peace and qmet             y
Clause 14. Pets
No animal, bird, or other pet will be kept on ft. premies, even .^__n„       accent properly trained service animals
                                                                temporarily, exceptW           ^^^^
needed by blind, deaf, or disabled persons and                    .



Clause 15. Landlord's Right to Access                                      ,meMencv to make repairs or improvements,
Landlord or Landlord's agents may enterthe prermses . te event^^me premisesto conductanannua,
or,o show the premises to prospective toryersortenants. Undlord may al*entsrtt,P«n^       ^
inspection to check for safe*or^^^^f^^^^^Tj^d^--^
praises,courtorder,orwherei    t isimpracticalto do so, Landlord shall g.veTenant__^_£*J
notice before entering.                                                                                 /
Clause 16. Extended Absences by Tenant                                                              -               consecutive

 and inspect for needed repairs.
 Clause 17. Possession of thePremises
   a.      Tenant*failure to take possession.
           If. after signing thisAgreement,Tenant foils to take possession ofthe „_*-.
                                                                                 premises, Tenant
                                                                                           Tenant will
                                                                                                  will Still be
                                                                                                             oe respon-
                                                                                                                  spo
           sible for paying rent and complying with all other terms ofthis Agreement.
   b       Landlord's failure to deliverpossession.                                                               ondlord's
           IfLrfo/fcunabletodeliverpossession^
           control including, butnot limited to, partial orcomplete destruction ofthe prermses. ^™"^e *e
           Tenant will be limited to the return ofall sums previously paid by Tenant to Landlord.
 Clause 18.Tenant Rules and Regulations                                                                 .           .. . ,

         / AttachmentAandattachedto and incorporated into mis Agreement by this reference.
 Clause 19. Payment ofCourt Costs and Attorney Fees In aLawsuit
 In any action or legal proceeding to enforce any partofthis Agreement, me prevailmg party
 D shall not / Qshall recover reasonable attorney fees and court costs.
 Clause 20. Disclosures                                                                        .
 Tenant acknowledges that Landlordhas made the foUowing disclosures regarding the premises.
     • Disclosure ofInformation on Lead-Based Paint and/or Lead-Based Paint Hazards
         • Other disclosures:




                                                                                                            iraio Hawfarffel im»wo Vf.:
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Clause 21. Authority to Receive Legal Papers                                                           m
The"^^
service ofprocess and receiveothernotices and demands, whichmay bedelivered to:
       Q The Landlord, at the following address:                 .                                                    "
       • The manager, at the following address:                  _                 —
       n The following person, at the following address:

Clause 22. Additional Provisions
Additional provisions are as follows:




Clause 23. Validity of Each Part
Ifany portion ofthis Agreement is held to be invalid, its invalidity will not afiect the validity or enforceability ofany
other provision ofthisAgreement
Clause 24. Grounds for Termination ofTenancy
The failure ofTenant or Tenant* guests or invitees to comply with any term ofthis Agreement, or the misrepresenta
tion ofany material fact on Tenant's rental application, is grounds for tennination ofthe tenancy, with appropriate
notice toTenant and procedures asrequired by law.
Clause 25. Entire Agreement
This document constitutes the entire Agreement between the parties, and no promises or representations, other than
those contained here and those implied by law, have been made by Landlord orTenant Any modifications to mis
Agreement must beinwriting signed by Landlord and Tenant

           %// //f                    £A&£>™dudt ~*f^Q
Date                          ~~* Landlord orLandlord's Agent                 '    Title

•3/ J/ )5                        AWvinVilumST'
Address




~jw       i/f/'f
          'V      '               State                            Zip Code                   Phone



Date
          */>//*-                 Tenant                                            phone



Date                              Tenant                                           ?htm&



Date                              Tenant                                            phonc
